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UNITED STATES OF AMERICA

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FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION `

 

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No. 4:19-CR-034-A

HARRIS BRooKs (01)

FACTUAL RESUME

INF()RMATION

Count One: Conspiracy to Commit Healthcare Fraud, 18 U.S.C. § 371 ( 18 U.S.C. § 1347)

PLEA

Guilty plea to Count One

MAXIMUM PENALTY

Upon conviction of Count One, the maximum penalty is as follows:

Term of imprisonment for not more than live years;

A fine up to the amount of $250,000, or twice the pecuniary gain or twice the
pecuniary loss;

A mandatory special assessment of $100;

A term of supervised release of not more than three years, which may be mandatory
under the law and will follow any term of imprisonment If the defendant violates the
conditions of supervised release, he could be imprisoned for the entire term of
supervised release and multiple revocations of supervised release may result in a term
of imprisonment that exceeds the maximum term of supervised release;

\~ Restitution to victims or to the community, which is mandatory under the law, and

which Defendant agrees may include restitution arising from all relevant conduct, not
limited to that arising from the offense of conviction alone; and
costs of incarceration and supervision

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ELEMENTS OF THE OFFENSE

To find the defendant guilty of the charged offense of conspiracy to commit healthcare
fraud in violation of 18 U.S.C. § 371 (18 U.S.C. § 1347), the government must prove the
following elements beyond a reasonable doubt:

First:

Second:

Third:

That the defendant and at least one other person made an agreement to
commit the crime of healthcare fraud in violation of 18 U.S.C.
§ 1347, as charged in the Information;

That the defendant knew the unlawful purpose of the agreement and joined
in it willfully, that is, with the intent to further the unlawful purpose; and

That one of the conspirators during the existence of the conspiracy
knowingly committed at least one of the overt acts described in the
Information, in order to accomplish some object or purpose of` the
conspiracy. ~

The elements of 18 U.S.C. § 1347 are as follows:

First:

Second:

d Third:

Fourth:

That the defendant knowingly and willfully executed a scheme or artifice to
defraud a healthcare benefit program, Blue Cross and Blue Shield of Texas,
CIGNA HealthCare of Texas Inc., and United Healthcare, by means of
false or fraudulent pretenses in connection with the delivery of or payment
for health care benefits, items, or services;

That the defendant acted with a specific intent to defraud a health care
benefit program;

That the false or fraudulent pretenses that the defendant used were material;
and

That the operation of the healthcare benefit program affected interstate
commerce.

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STIPULATION ()F FACTS

l. As set forth more fully below, Defendant Harris Brooks (Brooks), together with
others known and unknown, conspired to defraud, and did defraud, Blue Cross and Blue Shield
of Texas (BCBSTX), CIGNA HealthCare of Texas, Inc. (CIGNA) United Healthcare (UHC),
and other health insurance providers by submitting, and causing to be submitted, claims for
laboratory services as though Palo Pinto General Hospital (PPGH) performed the laboratory
services. In reality, the laboratory services were performed by other laboratories, not PPGH, for
individuals who were not patients at the hospital. Both patients and insurance providers were
charged for laboratory services not rendered by the rural hospital.

The Defendant and Others Relevant to the Scheme

2. PPGH, located in Mineral Wells, Texas, is a rural hospital owned and operated by
the Palo Pinto County Hospital District, organized under the laws of the State of Texas, and its
purpose is to serve as a general acute care hospital for the county. Defendant Brooks, a resident
of Mineral Wells, Texas, was the Chief Executive Officer (CEO) of PPGH.

3. Two unindicted co-conspirators (“CCl” and “CCZ”), through their company
(“LLCl”), marketed the fraudulent pass-through billing scheme for laboratory services to
Brooks. CCl and CCZ along with Brooks oversaw the implementation of the billing scheme at
PPGH.

4. Another two unindicted co-conspirators (“CC3” and “CC4”) were also involved in
the implementation of the pass-through billing scheme at PPGH. CC3 and CC4, through their
company (“LLCZ”), would solicit healthcare providers, not PPGH, throughout Texas and

elsewhere to send their laboratory samples to various laboratories throughout the United States

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for testing. In reality, the samples were sent to the non-PPGH laboratories for testing and then
billed as though PPGH performed the tests at PPGH.

5. A company (“Billing Company”) performed the billing for fraudulent claims on
behalf of PPGH. PPGH, however, had an in-house billing department that processed its
legitimate claims on behalf of PPGH.

The Healthcare Benefit Programs

6. BCBSTX was a private for-profit health insurance company in Texas that
provided healthcare benefits to individuals enrolled for coverage under individual and employer-
sponsored group plans. CIGNA and UHC were also healthcare insurance companies that
provided healthcare benefits to individuals enrolled for coverage under individual and group
plans. Individuals who received healthcare benefits were referred to as “Subscribers” or
“Members.”

7. BCBSTX, CIGNA, and UHC are “health care benefit programs” as defined by 18
U.S.C. § 24(b), and used in 18 U.S.C. § 1347, that affected commerce.

Coverage of Healthcare Services

8. BCBSTX, CIGNA, UHC, and other insurance companies contracted with
physicians and other healthcare providers, including hospital-based providers such as PPGH, for
each provider to become an approved “in-network” provider. As part of the application process,
each provider agreed to comply with each health insurance companies’ regulations, medical
policies, and provider manual guidelines The amount the health insurance company would
reimburse a provider for healthcare services, including laboratory tests, varied based on the

contractual agreements between the provider and the health insurance company. Providers also

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had responsibility for collection of any applicable copayments, coinsurance, or deductible
amounts. y

9. BCB STX, CIGNA, UHC, and other health insurance companies also contracted
with Subscribers under individual and group policies to cover healthcare services for the
individual. Each individual and group insurance plan detailed the benefits available to
Subscribers, ranging from inpatient and outpatient services for hospital-related care, which
included laboratory services. Each insurance plan specified, among other things, the amount of
the Subscriber’s copayment, coinsurance, and deductible for covered items and services.

10. Specifically, BCB STX, CIGNA, and UHC each offered health benefit plans to
Subscribers that covered expenses for medically necessary laboratory services, which varied
based on the medical needs of each individual patient. PPGH’s contracts with BCBSTX,
CIGNA, and UHC set the rates at which the health insurance companies would reimburse PPGH
for services PPGH provided. Pursuant to these contracts, PPGH was considered an “in-
networ ” provider, which enabled PPGH to be paid for its services at a higher rate than an “out-
of-networ ” provider.

ll. To obtain payment from the health insurance companies, PPGH, or its designee,
was required to submit claims, either electronically or on paper, to BCB STX, CIGNA, and UHC
that included, among other things, the following: PPGH’s National Provider Identifier (NPI) or
unique provider identification number; the patient’s name; the patient’s diagnosis described by a
standardized code; a description of the service(s) rendered to the patient using standardized

codes; the date and location the services were provided; and the amount claimed for payment

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12. Starting in or around September 1, 2017, and continuing through on or about June
2018, the Billing Company, on PPGH’s behalf, billed various insurance plans held by BCBSTX,
Cigna, and UHC for laboratory tests for allergy and genetic-type testing. These type of tests
contrasted significantly with the types of laboratory tests PPGH previously ordered and
processed in its laboratory. The reason for the change was PPGH began the submission of
claims for laboratory services for allergy and genetic tests for non-PPGH patients. Moreover,
PPGH’s laboratory did not perform the tests, and the physicians ordering the tests had no
affiliation with PPGH.

13. Beginning on or about November 7 , 2016, and continuing through on or about
June 2018, in the Northem District of Texas and elsewhere, defendant Harris Brooks, along
with others known and unknown, did knowingly and Willfully combine, conspire, confederate,
and agree with each other and with others, to violate 18 U.S.C.
§ 1347, that is, to devise and to execute a scheme and artifice to defraud a healthcare benefit
program affecting commerce, as defined in 18 U.S.C. § 24(b), that is BCBSTX, CIGNA, UHC,
and other health insurance providers, and to obtain by means of materially false and fraudulent
pretenses, representations, and promises, money and property owned by, and under the custody
and control of`, BCBSTX, CIGNA, UHC, and other health insurance providers, in connection
with the delivery of`, and payment for, healthcare benefits, items, and,services, namely
laboratory services.

Purpose of the Conspiracv
14. Brooks, as PPGH CEO, along with his co-conspirators, engaged in a scheme to

defraud and conceal PPGH’s role as a pass-through billing entity for out-of-network providers in

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order to receive significantly higher reimbursements from insurance companies. The higher
rates resulted from PPGH’s status as an “in-network” provider for BCBSTX, CIGNA, UHC,
and the other health insurance providers.

The Scheme to Defraud

15. On or about November 7, 2016, Brooks, as PPGH CEO, signed a Laboratory
Services Agreement (LSA) with CCl, as President of LLCl. The LSA outlined the terms of the
agreement, whereby LLCl would contract and manage genetic, allergy, toxicology, blood and
other hospital laboratory services in Texas and the surrounding region f`or various physicians
and other medical providers. PPGH agreed to pay LLCl 6()% of the monthly “Net Collections”
received by PPGH from insurance companies LLCl would pay the proceeds it received from
the scheme to CCl and CCZ, and, through LLCZ, to CC3 and CC4. LLCl and LLC2
outsourced the billing of laboratory services PPGH purportedly provided through the Billing
Company.

16. CC3, CC4, and others, doing business as LLCZ, marketed laboratory services to
various physicians and medical clinics throughout Texas. LLC2 coordinated the laboratory
services with those providers who agreed to do business with LLCZ and then directed the
volume and billing of those laboratory services by the Billing Company on behalf of PPGH.
LLCZ also addressed any patient complaints regarding the fraudulent claims the Billing
Company submitted on behalf of PPGH.

l7. Using PPGH’s national identification number O\]Pl) XXXXXXOGOZ, the Billing
Company submitted claims to insurance companies, including BCBSTX, CIGNA, and UHC, for

laboratory services for allergy and genetic testing purportedly performed at PPGH. In reality,

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PPGH did not have the equipment on-site to perform the tests for which it submitted claims to
the insurance companies. Moreover, the patients were non-PPGH patients and did not know
about the pass-through charges using PPGH’s insurance contracts.

18. lt was further part of the conspiracy that the samples for testing would be taken
from the non-PPGH patients and were then sent to other laboratories, not PPGH, for testing.
During the course of the conspiracy, the scheme changed and the spas and clinics who took the
samples would mail the sample for testing to PPGH. PPGH would then re-package and re-label
the sample and send it to the other laboratories for testing. This was known as the
“accessioning” process.

Overt Acts in Furtherance of the Conspiracv

19. In furtherance of the conspiracy and to effect its obj ect, the following overt acts,

among others, were committed in the Northern District of Texas and elsewhere, by Defendant

Brooks, who caused the Billing Company to submit the following fraudulent claims using

 

 

 

 

 

 

 

 

 

 

 

 

 

 

PPGH’s NPI number:

First Last Date of Insurer Claim Number Amount Amount

Name Name Service Billed Paid

A. B. 10/03/2017 CIGNA 9681730519132 $l3,588.08 $7,659.92
9681730519131

D. F 01/23/2018 CIGNA 4651803807456 813,588.08 $7,659.92
4651803807455

K. G. 02/01/2018 BCBSTX 00002018()5250 $13,591.71 $3,481.58
K29730X

J P. 11/03/2017 BCBSTX 0000201734050 $13,588.08 $2,641.94
K01910X

1. R. 09/11/2017 UHC 678959170301 312,289.20 $2,054.99

M. V. 02/13/2018 UHC 7009959898()1 $12,291.84 $2,774.45

 

 

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Each claim listed above is a separate overt act. None of the patients identified in the table
above Was a patient at PPGH, and none of the laboratory services billed in the table above Was
performed at PPGH.

Effect on Health insurance Providers

20. Beginning in or about September 2017 and continuing through June 2018, the
Billing Company, on PPGH’s behalf, Submitted claims to BCBSTX, CIGNA, UHC, and other
health insurance providers for laboratory services totaling more than $55 million, the vast
majority of which were fraudulent As a result of these claims, the health insurance providers
paid PPGH more than $9 minton.

21. Had the health insurance providers been aware that PPGH Was submitting claims

for laboratory services it had not performed, they would have denied the claims.

sIGNED and AGREED 10 on this the ,6;"` day of February, 2019.

HARRIS BRooKs 1 WI\LD
Defendant Attorney for Defendant

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